             Case 1:22-cv-01252-LY Document 20 Filed 03/01/23 Page 1 of 2




                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION
                                                                                         FILED
J.P., A MINOR BY AND THROUGH                                                          MAR
HIS PARENTS AND NEXT FRIENDS,                                                                    12023
                                                                                 CLERK       0
CRYSTAL P. AND DANIEL P.,                                                       ISTER              CT CLERK
                                                                                            ST     OF TEXAS
INDIVIDUALLY AND ON BEHALF OF
OF A CLASS OF ALL SIMILARLY
SITUATED STUDENTS, ET AL.,
                  PLAINTIFFS,
                                                            CAUSE NO. I:22-CV-1252-LY
V.

THE UVALDE CONSOLIDATED
INDEPENDENT SCHOOL DISTRICT
("UCISD"), ET AL.,
                   DEFENDANTS.

                                                   1 I] *


       Before the court is the above styled and numbered cause of action. Having reviewed the

pleadings, along with the record in this cause and the applicable law, the court is of the opinion that

this cause should be transferred to the Del Rio Division of the United States District Court for the

Western District of Texas.

       "For the convenience of parties and witnesses, in the interest ifjustice, a district court transfer

any civil action to any other district or division where it might have been brought." See 28 U.S.C.

§ 1404(a).    The events giving rise to this case all occurred in Uvalde County, Texas in the Del Rio

Division of the Western District of Texas. The court concludes that the Del Rio Division is the

appropriate venue for this action.

       IT IS THEREFORE ORDERED that this cause of action is TRANSFERRED to the

United States District Court for the Western District of Texas, Del Rio Division. The clerk is
          Case 1:22-cv-01252-LY Document 20 Filed 03/01/23 Page 2 of 2




instructed to forward the file in this cause to the United States District Court for the Western District

of Texas, Del Rio Division.

       SIGNED this                day of March, 2023.




                                                LL?
                                                UNITED STATES DISTRICT JUDGE
